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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DANIEL SCOTT,                                    )
                                                 )
                     Plaintiff,                  )
                                                 )
v.                                               ) Case No.:
                                                 )
VERIZON WIRELESS SERVICES, LLC,                  )
                                                 )
                     Defendant.                  )


                                  NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant VERIZON WIRELESS SERVICES, LLC

(“VERIZON”), by and through its undersigned counsel, hereby removes the

above-entitled action from the Circuit Court of Cook County, Illinois, Chancery Division,

to the United States District Court for the Northern District of Illinois, Eastern Division,

on the basis of the following facts:

       1.     Plaintiff Daniel Scott (“Scott”) has commenced an action against Verizon

in Illinois state court alleging a violation of the Fair Credit Reporting Act, 15 U.S.C. §

1681 et seq. (“FCRA”). Because this action involves a claim brought under the laws of

the United States, this Court has original jurisdiction over such claim, and the case is

therefore properly removed to this Court. See 28 U.S.C. §§ 1331, 1441(a). See also 15

U.S.C. § 1681p.

       2.     On March 2, 2016, Plaintiff filed this action in the Circuit Court of Cook

County, Illinois captioned Daniel Scott v. Verizon Wireless Services, LLC, Case No.

2016-CH-03064.
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       3.       On March 10, 2016, Verizon was served with a copy of the Summons and

Complaint.

       4.       Pursuant to 28 U.S.C. § 1446(a), a true and accurate copy of all process,

pleadings, and orders filed in the action are attached hereto as Exhibit A and B,

respectively.

       5.       This Notice of Removal is filed within 30 days of receipt by Verizon of the

initial pleading setting forth the claims for relief upon which the action is based.

28 U.S.C. §1446(b).

       6.       This action is properly removed to the United States District Court for the

Northern District of Illinois, Eastern Division, because they are the district and division

embracing Cook County, Illinois, where the state court action is pending. 28 U.S.C.

§§ 1441(a).

       7.       Written notice of the filing of this Notice of Removal is being promptly

provided to counsel for all adverse parties. 28 U.S.C. § 1446(d).

       8.       A copy of this Notice of Removal is being filed with the Clerk of the Court

of the Circuit Court of Cook County, Illinois. 28 U.S.C. § 1446(d). A copy of the Notice

to the Circuit Court of Cook County, Illinois of the Filing of Notice of Removal is attached

hereto as Exhibit C.

       WHEREFORE, Defendant Verizon Wireless Services, LLC requests that the

above-entitled cause, currently pending in the Circuit Court of Cook County, in the State

of Illinois, Case No. 2016-CH-03064, be removed to the United States District Court for

the Northern District of Illinois, Eastern Division, and that this cause proceed in this

Court as an action properly so removed.



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Dated: April 7, 2016

                                      Respectfully submitted,

                                      Butler Weihmuller Katz Craig, LLP

                                        /s/ K. Clark Schirle
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                            CERTIFICATE OF SERVICE

      I hereby certify that on April 7, 2016 a copy of the foregoing Notice of
Removal, with exhibits, was filed electronically. Notice of this filing will be sent to
the following parties by operation of the Court's electronic filing system. Parties
may access this filing through the Court's system. I also certify that the foregoing is
being served this day on all counsel of record identified on the below Service List via
U.S. Mail and E-mail.

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